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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                      *
                                               *
        v.                                     *    CRIMINAL NO. DLB-21-348
                                               *
 BRIAN MCQUADE,                                *
                                               *
        Defendant.                             *
                                            *******

                                       MOTION TO SEAL

       The United States of America, through its attorney Jessica Collins, respectfully moves this

Honorable Court for an order placing under seal the Proposed Sealed Document (the Government’s

Consent Motion to Designate Examiner for Evaluation Pursuant to 18 U.S.C. § 4241 and proposed

order) because it includes sensitive information about the Defendant’s medical condition. A

redacted version is being filed publicly.

       WHEREFORE, the Government respectfully requests that the Proposed Sealed

Document be placed under seal.

                                                    Respectfully submitted,

                                                    Erek L. Barron
                                                    United States Attorney

                                            By:             /s/
                                                    Jessica C. Collins
                                                    Assistant United States Attorney

It is so ORDERED, this _____ day of ________, 2023.
                                               ___________________________________
                                               Honorable Deborah L. Boardman
                                               United States District Judge
